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                   UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF INDIANA – SOUTH BEND DIVISION

                                               :
JOHN DOE,                                      :
                                               :
                                               :
               Plaintiff,                      :   Civil Action No:3:17-cv-298
                                               :
       v.                                      :
                                               :
NOTRE DAME UNIVERSITY,                         :
                                               :
                                               :
               Defendant.                      :

PLAINTIFF’S CORRECTED MOTION FOR A TEMPORARY RESTRAINING ORDER
     AND PRELIMINARY INJUNCTION PURSUANT TO FED. R. CIV. P. 65

       Plaintiff John Doe hereby moves this Honorable Court pursuant to Federal Rule of Civil

Procedure 65 for an Order temporarily restraining and preliminarily enjoining Defendant

University of Notre Dame for the reasons set forth in the attached Memorandum of Law, and as

set forth in the attached proposed order.

       Counsel for Plaintiff has notified Defendant of Plaintiff’s intent to file this Motion today

and has provided it with a copy of the Verified Complaint, this Motion, and the Brief in Support

of the Motion for Temporary Restraining Order and Preliminary Injunction on April 20, 2017.

In support of his Motion, Plaintiff incorporates by reference his Verified Complaint and his Brief

in Support, filed herewith.

       WHEREFORE, Plaintiff respectfully requests that the Court grant his Motion for a

Temporary Restraining Order and Preliminary Injunction as outlined in the attached proposed

order, and for such other relief as the Court finds just and proper.

                                               Respectfully submitted,

                                               /s/ Peter J. Agostino
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                                             Attorneys for Plaintiff



                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing pleading, to be

served upon counsel for Defendant Notre Dame University listed below by email and U.S. First

Class Mail on April 20, 2017:

Matthew Lahey, Esq.                               Damon R. Leichy, Esq.
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Counsel for Defendant                             Counsel for Defendant


                                                     /s/ Peter J. Agostino
                                                     Peter J. Agostino
